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        Exhibit H
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                Case 2:12-md-02323-AB Document 8351-9 Filed 09/05/17 Page 3 of 4
    4.   CSG, Brown Greer, Garretson Group
    5.   None.
    6.   CSG.
    7.   None.
    8.   None.
    9.   CSG.

Jesse Dean-Kluger, Esq.
Jesse Dean‐Kluger, P.A.
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non‐public information. Any use of this information by anyone other than the intended recipient is prohibited.

From: TerriAnne Benedetto [mailto:TBenedetto@seegerweiss.com]
Sent: Monday, August 7, 2017 11:07 AM
To: Jesse Dean‐Kluger <jdk@jdkpa.com>
Cc: Chris Seeger <CSeeger@seegerweiss.com>; bkarp@paulweiss.com
Subject: RE: NFL Concussion Litigation ‐ Dean‐Kluger

Unfortunately, we cannot give you an additional 10 days. Your responses are due a week from today, Aug. 14. We can
give you an extension until that Friday, Aug. 18. With the hearing set for Sept. 19, we simply aren’t able to allow a
longer extension.

Thank you,

TerriAnne Benedetto
Partner
Seeger Weiss LLP
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Philadelphia, PA 19102
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(d) 215‐553‐7981
(f) 215‐851‐8029




From: Jesse Dean‐Kluger [mailto:jdk@jdkpa.com]
Sent: Monday, August 07, 2017 10:38 AM
To: TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Cc: Chris Seeger <CSeeger@seegerweiss.com>; bkarp@paulweiss.com
Subject: RE: NFL Concussion Litigation ‐ Dean‐Kluger

TerrAnne,



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I am in receipt of the interrogatories directed to my firm. I am out of town for most of this week visiting family in the
northeast. Can I have another 10 days to respond? Please advise.

‐JDK

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non‐public information. Any use of this information by anyone other than the intended recipient is prohibited.

From: TerriAnne Benedetto [mailto:TBenedetto@seegerweiss.com]
Sent: Friday, July 28, 2017 1:37 PM
To: Jesse Dean‐Kluger <jdk@jdkpa.com>
Cc: Chris Seeger <CSeeger@seegerweiss.com>; bkarp@paulweiss.com
Subject: NFL Concussion Litigation ‐ Dean‐Kluger

Dear Mr. Dean‐Kluger,

Please see the attached letter from Christopher Seeger, along with other attachments.

Thank you,

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